     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 1 of 17 Page ID #:1




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 5
 6
                          UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT
 7
 8 JAMES JENKINS, JR., an individual        Case No.: 8:23-cv-1317
   and son; JAMES JENKINS III, an           VERIFIED COMPLAINT FOR:
 9 individual and father;
                                                1.    EQUAL PROTECTION
10                Plaintiffs,                   VIOLATION (CALIFORNIA
                                                CONSTITUTION; 42 U.S.C. §
11
                                                1983)
12                                              2.    DUE PROCESS
            v.                                  VIOLATION (CALIFORNIA
13
                                                CONSTITUTION; 42 U.S.C. §
14                                              1983);
                                                3.    NEGLIGENCE;
15 SHARON JIMENEZ, an individual;
   COLDWELL BANKER                              4.    NEGLIGENT
16                                              MISREPRESENTATION;
   CORPORATION D/B/A COLDWELL
17 BANKER PLATINUM PROPERTIES,
                                                5.    PROMISSORY ESTOPPEL;
   a corporation and business; ORANGE           6.    BREACH OF FIDUCIARY
18                                              DUTY;
   COUNTY SHERIFF’S
19 DEPARTMENT LAGUNA NIGUEL;
                                                7.    BREACH OF CONTRACT;
   and, DOES 1-10, INCLUSIVE,                   8.    INTENTIONAL
20                                              INFLICTION OF EMOTIONAL
21                Defendants                    DISTRESS;
                                                9.     42 U.S.C. SECTION 1983
22                                              DEPRIVATION OF CIVIL
23                                              RIGHTS;
                                                10.    FINANCIAL ELDER
24                                              ABUSE; AND;
25                                              11.    ELDER ABUSE.

26                                                DEMAND FOR JURY TRIAL
27
28

                                            1
                                        COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 2 of 17 Page ID #:2




 1                                      COMPLAINT
 2
           1.      Plaintiffs JAMES JENKINS, JR., an individual and son; as well as
 3
 4
     JAMES JENKINS III, an individual and father; individually, jointly, and

 5 collectively, complain and allege against Defendants as follows:
 6
                                          PARTIES
 7
 8         2.      Plaintiff JAMES JENKINS JR., (“JENKINS JR.” or “Plaintiff”), is an

 9 individual and was at all times relevant hereto a resident of Laguna Nigel,
10
     California.
11
12         3.      Plaintiff JAMES JENKINS III, (“JENKINS III” or “Plaintiff”), is an

13 individual and was at all times relevant hereto a resident of Laguna Nigel,
14 California.
15         4.      Defendant SHARON JIMENEZ (“JIMENEZ” or “Defendant”) is an

16 individual and was at all times hereto a resident of the County of Orange.
17         5.      Defendant COLDWELL BANKER CORPORATION D/B/A

18 COLDWELL BANKER PLATINUM PROPERTIES is a California corporation,
19 and at all times relevant hereto did business in the County of Orange.
20         6.      Defendant ORANGE COUNTY SHERIFF’S DEPARTMENT

21 LAGUNA NIGUEL is the local sheriff’s department where the Plaintiffs reside.
22         7.      Plaintiffs do not currently know the names of DOES 1-10, inclusive,

23 and, therefore, sue stated defendants by such fictitious names. Plaintiffs allege that
24 each DOE defendant is in some way liable and at fault for the occurrences alleged
25 herein, and each DOE defendant is responsible for the damages incurred by
26 Plaintiffs. Plaintiffs will amend this Complaint to allege the DOE defendants’ true
27 names and capacities when ascertained.
28

                                              2
                                           COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 3 of 17 Page ID #:3




 1          8.    Plaintiffs are informed and believe, and on that basis allege, that at all
 2 times mentioned in this Complaint, Defendants and each of the DOE defendants
 3 were the agents, servants, partners, affiliates, employees, and/or joint-ventures of
 4 their co-defendants and in doing the things alleged in this Complaint, were acting in
 5 concert with each other.
 6                              JURISDICTION AND VENUE
 7          9.    Defendants are all residents of California. As such, the Court in which
 8 the instant action is filed is the proper Court and venue for the instant action under
 9 the provisions of California Code of Civil Procedure (“CCP”) Section 395.
10          10.   As a direct and proximate result of the unlawful acts of Defendants,
11 Plaintiffs have suffered and continue to suffer damages in amounts to be proved at
12 trial.
13                                 FACTUAL ALLEGATIONS
14      11.Plaintiff JAMES JENKINS JR. (“JENKINS JR.”) is the father of Plaintiff
15          JAMES JENKINS III, and the owner of the home at 29152 Bobolink Dr,
16          Laguna Niguel, CA 92677 (the “Property”).
17      12.JENKINS JR. is a senior citizen, an Army veteran, and a retired sheriff.
18          Plaintiff suffered a gunshot to the head while a sheriff and, as a result, suffers
19          from severe disabilities including having only 17% of his vision as well as
20          cognitive and speech difficulties. Unfortunately, Plaintiff’s wife on Memorial
21          Day, 2021, Ms. Jenkins passed away from complications with Covid-19 and
22          her pre-existing conditions.
23      13.Plaintiffs   retained    Defendant    COLDWELL          BANKER       PLATINUM
24          PROPERTIES (“COLDWELL BANKER”) for the purpose of selling the
25          Property.
26      14.COLDWELL          BANKER        assigned    Defendant     SHARON        JIMENEZ
27          (“JIMENEZ”) as the listing agent on the Property.
28

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                                             COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 4 of 17 Page ID #:4




 1      15.However, JIMENEZ repeatedly disregarded the wishes and overall direction of
 2         Plaintiffs, while acting as the seller’s agent on the Property.
 3      16.For example, JIMENEZ utilized prohibited funds in the amount of $5,000 to
 4         leverage a position to in an attempt to force the sale of the Property without
 5         lawful disclosure under the Uniform Commercial Code.
 6      17.Further, when Plaintiffs requested that the listing be placed on hold and
 7         JIMENEZ cease all efforts in attempting to sale the Property, JIMENEZ texted
 8         Plaintiffs: “It’s sold”—in spite of the fact that the elderly and frail JENKINS
 9         JR. occupied the home and would be forced to vacate in the event of an
10         improvident sale.
11      18.JIMENEZ visited the Property, using keys provided by COLDWELL
12         BANKER, to insist on the $5000. However, upon confronting Plaintiffs,
13         JIMENEZ soon confessed that the Property was not, in fact, in escrow.
14      19.Based on these and other events, Plaintiffs terminated their contract with
15         COLDWELL BANKER and JIMENEZ, on or about September 29, 2022.
16      20.Plaintiffs provided further explanation to COLDWELL BANKER regarding
17         the grounds for terminating their agreement with COLDWELL BANKER on
18         or about October 6, 2022.
19      21.COLDWELL BANKER responded with an attempt to replace JIMENEZ with
20         another agent.
21      22.However, Plaintiffs rejected COLDWELL BANKER’s offer and clarified that
22         they no longer wished to sell the Property and did not accept any assignment
23         of any agent at COLDWELL BANKER for the sale.
24      23.Thereafter, JIMENEZ demanded that Plaintiffs transfer a storage contract with
25         U-haul Storage Company into their name, or that she would be returning their
26         furniture to the Property.
27      24.JIMENEZ left Plaintiffs’ furniture, bare and exposed, in the driveway of the
28         Property.
                                               4
                                            COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 5 of 17 Page ID #:5




 1      25.JIMENEZ then retaliated against Plaintiffs by, among other things, threatening
 2         JENKINS III that he would be “picked up” by police if he did not cooperate in
 3         the sale of the Property and that he would “have 60 days in lock up.”
 4      26.Ultimately, JIMENEZ followed through on her threats, calling the police
 5         against JENKINS III and causing them to take JENKINS III to jail under false
 6         pretenses.
 7      27.JENKINS III was taken into custody by the Orange County Sheriff’s
 8         Department (“OCSD”) based on false testimony by JIMENEZ.
 9      28.While JENKINS III was in custody, JIMENEZ filed an action in Small Claims
10         Court seeking $5,212.30 in damages for purported costs expended by
11         JIMENEZ in connection with the failed sale of the Property.
12      29.On or about March 13, 2023, JIMENEZ obtained a judgment in the amount of
13         $5212.30 in damages and $135.00 in costs, due to the non-appearance by
14         JENKINS III and JENKINS JR. (the “Small Claims Judgment”).
15      30.Because of DEFENDANT JIMENEZ’s negligent and reckless conduct, and
16         lack thereof, PLAINTIFFS lost their pet dog named CODY BEAR. The pet
17         was kidnapped because of DEFENDANT JIMENEZ to this date unable to be
18         found and located. The pictures are incorporated via reference herein.
19
20
21
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23
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25      31.Plaintiffs have suffered serious economic and emotional distress damages
26         associated with Defendants’ conduct in connection with the attempted sale of
27         the Property, including JIMENEZ’s threats and improper conduct designed to
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                                             5
                                          COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 6 of 17 Page ID #:6




 1         force Plaintiffs to agree to the sale of the Property so that JIMENEZ could reap
 2         a financial windfall.
 3      32.As a direct and proximate result of the actions and omissions of Defendants,
 4         Plaintiffs have suffered damages in an amount to be proven at trial.
 5                                 CLAIMS FOR RELIEF
 6
                             FIRST CAUSE OF ACTION
 7                          EQUAL PROTECTION VIOLATION
 8
                       (CALIFORNIA CONSTITUTION; 42 U.S.C. § 1983)

 9      33.Plaintiffs hereby incorporate the preceding allegations as if fully rewritten
10         herein.
11      34.Section 1983 allows claims alleging the “deprivation of any rights, privileges,
12         or immunities secured by the Constitution and [federal laws].” 42 U.S.C. §
13         1983.
14      35.Plaintiffs are African-American male natural persons.
15      36.This 1983 action stems from the county deputy sheriff’s participation in
16         private parties’ wrongful deprivation of Plaintiffs’ property.
17      37.Defendants did not provide equal protection of the laws treating Plaintiffs
18         differently than other similarly-situated individuals.
19      38. Defendants have violated the First, Fourth, and Fourteenth Amendments of
20         the United States Constitution of America.
21      39.Plaintiffs seek damages in the prayer for relief; and, pursuant to Code.
22                          SECOND CAUSE OF ACTION
23
                             DUE PROCESS VIOLATION
                       (CALIFORNIA CONSTITUTION; 42 U.S.C. § 1983)
24
25      40.Plaintiffs hereby incorporate the preceding allegations as if fully rewritten

26         herein.

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                                               6
                                            COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 7 of 17 Page ID #:7




 1      41.Section 1983 allows claims alleging the “deprivation of any rights, privileges,
 2         or immunities secured by the Constitution and [federal laws].” 42 U.S.C. §
 3         1983.
 4      42.Plaintiffs are African-American male natural persons.
 5      43. This 1983 action stems from the county deputy sheriff’s participation in
 6         private parties’ wrongful deprivation of Plaintiffs’ property.
 7      44.Defendants did not provide notice and opportunity to be heard treating
 8         Plaintiffs differently than other similarly-situated individuals.
 9      45.Defendants have violated the First, Fourth, Fifth and Fourteenth Amendments
10         of the United States Constitution of America.
11      46.Plaintiffs seek damages in the prayer for relief; and, pursuant to Code.
12                              THIRD CAUSE OF ACTION
                                     NEGLIGENCE
13
14      47. Plaintiffs hereby incorporate the preceding allegations as if fully rewritten
15         herein.
16      48.Defendants had a duty, both contractual and statutory, toward Plaintiffs.
17      49.Defendants violated mortgage and banking laws, designed to protect
18         consumers such as Plaintiff. Defendants thus engaged in negligence per se.
19      50.But for the defendants’ breach of duty, Plaintiff would not have incurred
20         actual and proximate damages.
21      51.As a result of defendants’ breach of duty, res ipsa loquitor, defendants’
22         conduct, individually, jointly, and collectively, caused actual and proximate
23         damages to plaintiff.
24      52.The damages were monetary and non-monetary.
25      53.In 2022, because of Defendants’ breach of duty, Plaintiffs were deprived of
26         the quiet use and enjoyment of their residential property.
27      54.Because of Defendants’ negligence, Plaintiffs were to lose their residential
28         property.
                                               7
                                            COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 8 of 17 Page ID #:8




 1      55.Plaintiffs seek damages in the prayer for relief; and, pursuant to Code.
 2                             FOURTH CAUSE OF ACTION
                             NEGLIGENT MISREPRESENTATION
 3
 4      56.Plaintiffs hereby incorporate the preceding allegations as if fully rewritten
 5         herein.
 6      57.Plaintiff was harmed because the defendants negligently misrepresented a
 7         fact.
 8      58.Defendants negligently misrepresented the facts about the property ownership
 9         to the sheriff and related hospital individuals while plaintiff-son was falsely
10         incarcerated;
11      59.That Defendants represented to plaintiff that a fact was true;
12      60.Defendants’ representation were not true.
13      61.That Defendants may have honestly believed that the representation was true
14         Defendants had no reasonable grounds for believing the representation was
15         true when Defendants made it; That Defendants intended that the plaintiffs
16         and others to detrimentally rely on this representation; Plaintiffs and others
17         detrimentally relief on the negligent misrepresentation, and Defendants.
18      62.That plaintiff reasonably relied on Defendants’ negligent representation.
19      63.That plaintiff was harmed based on Defendant Jimenez falsely residing at the
20         property while plaintiff-father who is disabled, blind, and physically partially
21         paralyzed, and,
22      64.Defendants negligently misrepresented that Defendants were owners of the
23         property while this was not true;
24      65.That Defendants misrepresented to Plaintiffs, knowing that the fact was not
25         true.
26      66.That Defendants’ negligent representation was not true; and, made the
27         representation recklessly and without regard for its truth.
28

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                                            COMPLAINT
     Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 9 of 17 Page ID #:9




 1      67.That Defendants intended that the plaintiff to detrimentally and reasonably
 2         rely on this misrepresentation; Plaintiff detrimentally and reasonably relied on
 3         the negligent misrepresentation, and called Defendants repeatedly.
 4      68.That plaintiff reasonably relied on Defendants’ negligent representation.
 5      69.That plaintiff was harmed Defendants’ misrepresentation; and,
 6      70.That plaintiff’s reliance on defendants’ representation was a substantial factor
 7         in causing plaintiff’s harm.
 8      71.Plaintiffs seek damages in the prayer for relief.
 9                               FIFTH CAUSE OF ACTION
                                 PROMISSORY ESTOPPEL
10
11      72.Plaintiffs hereby incorporate the preceding allegations as if fully rewritten
12         herein.
13      73.Plaintiffs claim they were harmed because Defendants made a false promise
14         about the residential real property ownership.
15      74.To establish this claim, Plaintiffs state:
16         1. That Defendants made a promise to Plaintiffs about the residential real
17         property ownership specifically Jimenez as a broker who sold it to Plaintiffs;
18         2. That Defendants did not intend to perform this promise of transferring
19         Plaintiffs’ residential real property ownership to plaintiffs when they made it;
20         3. That Defendants intended that Plaintiffs rely on this [false] promise; 4.
21         That Plaintiffs reasonably relied on Defendants’ [false] promise; 5. That
22         Defendants did not perform the promised act of transferring Plaintiffs’
23         residential real property ownership to plaintiffs when they made it; 6. That
24         Plaintiffs were harmed; and, 7. That Plaintiffs’ reliance on Defendants’
25         promise of transferring Plaintiffs’ residential real property ownership to
26         plaintiffs when they made it was a substantial factor in causing their harm.
27      75.Plaintiffs seek damages in the prayer for relief.
28

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                                             COMPLAINT
 Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 10 of 17 Page ID #:10




 1                          SIXTH CAUSE OF ACTION
                           BREACH OF FIDUCIARY DUTY
 2
 3   76.Plaintiffs refer to, re-allege and incorporate by reference each of the paragraphs
 4      above as if set forth fully herein.
 5   77.Defendants had a fiduciary duty to Plaintiffs in their capacities as the seller’s
 6      agent.
 7   78.JIMENEZ breached her duty by failing to look after Plaintiffs’ best interests in
 8      connection with the sale of the Property. In fact, JIMENEZ looked after her
 9      own interests and engaged in fraudulent behavior designed to pressure
10      Plaintiffs into agreeing to sell the Property on less than favorable terms. For
11      example, JIMENEZ threatened and then followed through on her threat to
12      report JENKINS III to the police on a false basis. Similarly, JIMENEZ lied to
13      Plaintiffs about whether the Property was truly in escrow.
14   79.Defendant COLDWELL BANKER failed to adequately monitor the activities
15      of JIMENEZ in connection with the sale.
16   80.As a proximate result of Defendants’ aforementioned acts and omissions,
17      Plaintiffs have been damaged in amounts to be determined at trial.
18                         SEVENTH CAUSE OF ACTION
                              BREACH OF CONTRACT
19
20   81.Plaintiffs incorporate by reference and restate the allegations contained in the
21      preceding paragraphs as though set forth in full herein.
22   82.Plaintiffs and Defendants entered into an agreement whereby Defendants
23      agreed to represent Plaintiffs in connection with the sale of the Property.
24   83.Plaintiffs performed under the agreement.
25   84.However, Defendants failed to perform by, among other things, failing to
26      adhere to Plaintiffs’ wishes in representing them in the sale of the Property.
27   85.Defendants breached the agreement by, among other things, engaging in
28      conduct of which they failed to inform Plaintiffs, including as relates to the

                                             10
                                          COMPLAINT
 Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 11 of 17 Page ID #:11




 1      prohibited $5000 payment, and by lying to Plaintiffs about whether the
 2      Property was in escrow.
 3   86.As a proximate result of Defendants’ aforementioned acts and omissions,
 4      Plaintiffs have been damaged in amounts to be determined at trial.
 5                      EIGHTH CAUSE OF ACTION
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 6
                                 (IIED)
 7
     87.Plaintiffs incorporate by reference and restate the allegations contained in the
 8
        preceding paragraphs as though set forth in full herein.
 9
     88.JIMENEZ engaged in extreme and outrageous conduct with the intention of
10
        causing emotional distress to Plaintiffs, for the purpose of misleading them and
11
        pressuring them to agree to the sale of the Property.
12
     89.For example, JIMENEZ mislead Plaintiffs that the Property was in escrow and
13
        told them “it’s sold.”
14
     90.JIMENEZ threatened and then ultimately followed through on her threat to
15
        report JENKINS III to police, again in an attempt to pressure him into agreeing
16
        to the sale of the Property.
17
     91.Plaintiffs did suffer severe and extreme emotional distress actually and
18
        proximately caused by JIMENEZ’s conduct.
19
     92.As a proximate result of Defendants’ aforementioned acts and omissions,
20
        Plaintiffs have been damaged in amounts to be determined at trial.
21
                         NINTH CAUSE OF ACTION
22
          42 U.S.C. SECTION 1983 DEPRIVATION OF CIVIL RIGHTS
23
     93.Plaintiffs hereby incorporate the preceding allegations as if fully rewritten
24
        herein.
25
     94.Section 1983 allows claims alleging the “deprivation of any rights, privileges,
26
        or immunities secured by the Constitution and [federal laws].” 42 U.S.C. §
27
        1983.
28

                                            11
                                         COMPLAINT
 Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 12 of 17 Page ID #:12




 1   95.Plaintiffs are African-American male natural persons.
 2   96.This 1983 action stems from the county deputy sheriff’s participation in
 3      private parties’ wrongful deprivation of Plaintiffs’ property; and civil rights.
 4   97.Defendants deprived Plaintiffs of each of their civil rights treating Plaintiffs
 5      differently than other similarly-situated individuals.
 6   98. Defendants have violated the First, Fourth, and Fourteenth Amendments of
 7      the United States Constitution of America.
 8   99.Plaintiffs seek damages in the prayer for relief; and, pursuant to Code.
 9                        TENTH CAUSE OF ACTION
                          FINANCIAL ELDER ABUSE
10
                    WELFARE AND INSTITUTIONS CODE
11                      Division 9. Public Social Services
12
                       Part 3. Aid and Medical Assistance
        Chapter 11. Elder Abuse and Dependent Adult Civil Protection Act
13                             Article 2. Definitions
14
                           § 15610.30. Financial abuse

15   100.      Plaintiffs incorporate by reference and restate the allegations contained
16      in the preceding paragraphs as though set forth in full herein.
17   101.      Plaintiff-father is an elder or dependent adult occurs. Defendants have
18      (1) Taken, secreted, appropriated, obtained, and/or retained real or personal
19      property of an elder or dependent adult for a wrongful use or with intent to
20      defraud, or both.
21      (2) Assisted in taking, secreting, appropriating, obtaining, or retaining real
22      and/or personal property of an elder or dependent adult for a wrongful use or
23      with intent to defraud, or both.
24      (3) Taken, secreted, appropriated, obtained, or retained, or assisted in taking,
25      secreting, appropriating, obtaining, or retaining, real or personal property of
26      an elder or dependent adult, i.e., Plaintiff-father by undue influence, as
27      defined in Section 15610.70.
28      (b) Defendants should be deemed to have taken, secreted, appropriated,

                                              12
                                           COMPLAINT
 Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 13 of 17 Page ID #:13




 1      obtained, or retained property for a wrongful use if, among other things, the
 2      person or entity takes, secretes, appropriates, obtains, or retains the property
 3      and the person or entity knew or should have known that this conduct is likely
 4      to be harmful to the elder or dependent adult.
 5      (c) For purposes of this section, Defendants have taken, secreted,
 6      appropriated, obtained, or retained real or personal property when an elder or
 7      dependent adult, i.e., Plaintiff-father is deprived of any property right,
 8      including by means of an agreement, donative transfer, or testamentary
 9      bequest, regardless of whether the property is held directly or by a
10      representative of an elder or dependent adult. Plaintiff-father seeks relief as in
11      the Code, and prayer for relief.
12                     ELEVENTH CAUSE OF ACTION
                                ELDER ABUSE
13
                               Title 34. Welfare.
14      Chapter 15. The Elder and Dependent Adult Abuse Prevention Act
15
     102.     Plaintiffs incorporate by reference and restate the allegations contained
16
        in the preceding paragraphs as though set forth in full herein.
17
     103.     Plaintiff-father is an elder occurs.
18
     104.     Pursuant to § 452, Defendants engaged in the ‘Abuse of an elder based
19
        on:
20
        (1) Physical, emotional or financial abuse, neglect, abandonment, isolation,
21
        abduction, or other treatment resulting in physical or emotional injury,
22
        maltreatment, sexual conduct of Plaintiff-father, and/ or exploitation of
23
        Plaintiff-father by Defendants;
24
        (2) The deprivation by Defendant Jimenez of goods or services that are
25
        necessary to avoid physical or emotional injury; or
26
        (3) Use of physical or chemical restraint or psychotropic medication by
27
28

                                              13
                                           COMPLAINT
  Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 14 of 17 Page ID #:14




 1          Defendants under any of the following conditions: for punishment; and/or for
 2          any purpose not authorized by a physician or surgeon, such as duress and fraud.
 3       103. Plaintiff-father seeks relief as in the Code, and prayer for relief.
 4                                     PRAYER FOR RELIEF
 5          WHEREFORE, Plaintiffs respectfully seek judgment against all Defendants
 6 as follows:
 7       1. That Plaintiffs be awarded $100.50 million.
 8       2. That Plaintiffs be awarded general, special, and actual damages according to
 9          proof at the time of trial.
10       3. That Plaintiffs be awarded expectancy and consequential damages according
11          to proof at the time of trial.
12       4. That Plaintiffs be awarded punitive damages according to proof at the time of
13          trial.
14       5. That Plaintiffs be awarded interest accrued to date.
15       6. That Plaintiffs be awarded costs of suit incurred herein.
16       7. That Plaintiffs be awarded their reasonable attorneys’ fees incurred in this
17          action.
18       8. That Plaintiffs be awarded restitution and disgorgement of all Defendants’ ill-
19          gotten gains.

20       9. That Plaintiffs be awarded such other and further relief that the Court may deem

21          just and proper.

22                               DEMAND FOR JURY TRIAL

23          Plaintiffs request a jury trial for all issues so triable that are raised herein or

24 that hereinafter may be raised in this action.
25 ///
26 ///
27 ///
28 ///

                                                 14
                                              COMPLAINT
 Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 15 of 17 Page ID #:15




 1                                               Respectfully submitted,
 2 DATED: July 20, 2023
 3
                                          /S/ Reshma Kamath
 4
 5                                 LAW OFFICE OF RESHMA KAMATH
                                   Reshma Kamath
 6                                 Counsel for Plaintiff
 7                                 JAMES JENKINS JR. and JAMES JENKINS III

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                                     COMPLAINT
Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 16 of 17 Page ID #:16
Case 8:23-cv-01317 Document 1 Filed 07/20/23 Page 17 of 17 Page ID #:17
